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                                                                                                James A. Noel
                                                                                                Latoya Grayes
STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL COURT

BOB CRABTREE AND ANNETTE CRABTREE
     PLAINTIFFS,

v.                                                  CASE NO. D-202-CV-2018-02234

WELLS FARGO BANK, N.A., AS TRUSTEE FOR
THE POOLING AND SERVICING AGREEMENT
DATED AS OF OCTOBER 1, 2004, MERRILL LYNCH
MORTGAGE INVESTORS TRUST MORTGAGE LOAN
ASSET-BACKED CERTIFICATES, SERIES 2004-WMC5;
ALTISOURCE AIK/A ALTISOURCE SINGLE FAMILY, INC.,
PROPERTY PRESERVATION SERVICING, LLC,
JOHN DOE I, JOHN DOE II, JOHN DOE III, AND JOHN DOE IV,
     DEFENDANTS.

                              DEMAND FOR TRIAL BY JURY

        COME NOW Plaintiffs by and through his attorney of record, Robert D. Gorman, P.A.,

(Louis Puccini, Jr.), and pursuant to Rule 1-03 8, NMRA, hereby demands a trial by a jury of six

(6) persons of all claims and defenses raised by the Complaint which are properly triable before a

Jury.

                                             Respectfully submitted,

                                             ROBERT D. GORMAN, P.A.

                                             By: /s/ Louis Puccini, Jr.
                                             Louis Puccini, Jr.
                                             P.O. Box 25164
                                             Albuquerque, New Mexico 87125-0164
                                             T. 505.243.5442 I 505.247.1539
                                             E. 1oui s(a)rdgormanl aw. com




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                                                                                      Exhibit C
I HEREBY CERTIFY that a true and correct copy of this Jury Demand was sent via First Class
U.S. Mail to the following:

Wells Fargo Bank, N.A.
Attn: David Hockmuth, President
200 Lomas Blvd NW
Albuquerque, NM 87102

Altisource Single Family, Inc.
Registered Agent: CT Corporation System
206 S. Coronado Avenue
Espanola, NM 87532-2792

Property Preservation Services, LLC
Attn: Aaron Trevethan, Founder and CEO
30011 Ivy Glenn Drive, Suite 224
Laguna Niguel, CA 92677




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